Case 1:19-cv-20045-RNS Document 75 Entered on FLSD Docket 07/25/2019 Page 1 of 2


                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                                CASE NO. 0:19-cv-20045-(Scola/Torres)

  AIRBNB, INC.,

                   Plaintiff,

  vs.

  CITY OF MIAMI BEACH,

                   Defendant.
  ___________________________________/

                MEDIATION REPORT AND NOTICE OF ADJOURNMENT

        Pamela I. Perry, the mediator in this case, hereby submits the following Mediation

  Report.

        1.         On July 18, 2019, counsel and the parties in the above-referenced case

  convened at the offices of Carlton Fields Jorden Burt, Miami Tower, Suite 4200, 100 S.E.

  Second Street, Miami, Florida 33131 for a mediation conference in this case.

        2.         All required parties and their counsel were present for the mediation.

        3.         The mediation was adjourned pending continued negotiations.

        DATED this 25th day of July, 2019.

                                                             Respectfully submitted,
                                                             /s/ Pamela I. Perry_____________
                                                             Pamela I. Perry, Esq.
                                                             Fla. Bar No. 455271
                                                             PAMELA I. PERRY, P.A.
                                                             1501 Venera Avenue, Suite 300
                                                             Coral Gables, FL 33134
                                                             P: 305-670-9800
                                                             F: 305-670-9933
                                                        1

            PAMELA I. PERRY, P.A., 1501 VENERA AVENUE, SUITE 300, CORAL GABLES, FL 33146 – 305-670-9800
Case 1:19-cv-20045-RNS Document 75 Entered on FLSD Docket 07/25/2019 Page 2 of 2
                                                               CASE NO. 0:19-cv-20045-(Scola/Torres)



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 25th day of July, 2019, I electronically

  transmitted the attached document to the Clerk’s Office using the CM/ECF system for

  filing and transmittal of a Notice of Electronic Filing to:

  David M. Buckner                                         Richard J. Ocelmen
  BUCKNER + MILES                                          Merrick L. Gross
  3350 Mary Street                                         CARLTON FIELDS JORDEN BURT
  Miami, FL 33133                                          PA
  Counsel for Plaintiff                                    Miami Tower, Suite 4200
                                                           100 S.E. Second Street
  Chad Golder (pro hac vice)                               Miami, FL 33131
  Adele M. El-Khouri (pro hac vice)                        T: 305.530.0050
  MUNGER TOLLES & OLSON LLP                                Counsel for Defendant
  1155 F Street NW, 7th Floor
  Washington, DC 20004-1361                                Aleksandr Boksner
  Counsel for Plaintiff                                    Chief Deputy City Attorney
                                                           RAUL J. AGUILA, CITY ATTORNEY
  Jonathan H. Blavin (pro hac vice)                        CITY OF MIAMI BEACH
  MUNGER TOLLES & OLSON LLP                                1700 Convention Center Dr., 4th Floor
  560 Mission Street, 27th Floor                           Miami Beach, FL 33139
  San Francisco, CA 94105-4000                             Counsel for Defendant
  Counsel for Plaintiff


                                                           By: /s/ Pamela I. Perry




                                                      2

          PAMELA I. PERRY, P.A., 1501 VENERA AVENUE, SUITE 300, CORAL GABLES, FL 33146 – 305-670-9800
